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 1   AARON D. FORD
      Attorney General
 2   Jaimie Stilz (Bar No. 13772)
      Deputy Attorney General
 3   State of Nevada
     Office of the Attorney General
 4   555 E. Washington Ave., Ste. 3900
     Las Vegas, Nevada 89101-1068
 5   (702) 486-3130 (phone)
     (702) 486-2377 (fax)
 6   JStilz@ag.nv.gov
     Attorneys for Respondents
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                             DISTRICT OF NEVADA
10    DANIEL ROBBINS,                                     Case No. 2:19-cv-02153-APG-VCF
11
              Petitioner,
                                                                   UNOPPOSED MOTION FOR
12                                                              ENLARGEMENT OF TIME TO FILE
      vs.                                                        RESPONSE TO FIRST AMENDED
13                                                              PETITION FOR WRIT OF HABEAS
      JERRY HOWELL, et al.,                                          CORPUS (ECF NO. 20)
14
              Respondent(s).                                            (SECOND REQUEST)
15

16          Respondents move this Court for an enlargement of time of 30 days from the current due date of
17   November 2, 2020, up to and including December 2, 2020, in which to file their Response to the First
18   Amended Petition for Writ of Habeas Corpus (ECF No. 20). This Motion is made pursuant to Fed. R.Civ.
19   P. 6(b) and Rule 6-1 of the Local Rules of Practice and is based upon the attached declaration of counsel.
20          This is the second enlargement of time sought by Respondents, and the request is brought in good
21   faith and not for the purpose of delay.
22          DATED: November 2, 2020.
23                                                        Submitted by:
24                                                        AARON D. FORD
                                                          Attorney General
25
                                                          By:      /s/ Jaimie Stilz
26    IT IS SO ORDERED:                                         Jaimie Stilz (Bar. No. 13772)
                                                                Deputy Attorney General
27           November 2, 2020
      Dated:__________________
28
                                                           ________________________
                                                           ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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